USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 1 of 41



          IN THE UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT

                       CASE NO. 22-13410
    (CONSOLIDATED WITH CASE NOS: 22-14099; 23-10387; 23-13177)


                         DONALD J. TRUMP,
                          Plaintiff-Appellant,

                                   v.

                    HILLARY R. CLINTON, et al.,

                         Defendants-Appellees.



MOTION FOR DAMAGES AND COSTS UNDER FEDERAL RULE OF
              APPELLATE PROCEDURE 38


        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF FLORIDA
                     CASE NO. 22-CV-14102
          (THE HONORABLE DONALD M. MIDDLEBROOKS, J.)


                        Enjoliqué Aytch Lett
                      Akiesha Gilcrist Sainvil
                     Greenberg Traurig, P.A.
                   Wells Fargo Center, Suite 4400
                   333 Southeast Second Avenue
                         Miami, Florida 33131
                       Telephone: 305.579.0500
                      Enjolique.Lett@gtlaw.com
                    Akiesha.Sainvil@gtlaw.com

         Counsel for Appellee Orbis Business Intelligence Ltd.
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 2 of 41



      Trump v. Clinton, et al., Nos. 22-13410, 22-14099, 23-10387,
                               & 23-13177

        CERTIFICATE OF INTERESTED PERSONS AND
          CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1 and

Eleventh Circuit Rule 26.1-1, Defendant-Appellee Orbis Business

Intelligence Ltd. provides this list, which includes the trial judge, and

all attorneys, persons, associations of persons, firms, partnerships or

corporations that have an interest in the outcome of this review:

  ABC Corporations

  Aytch Lett, Enjoliqué Dion

  Barry, Stephen

  Barzee, William R.

  Berkowitz, Sean M.

  Berman, Joshua Adam

  Binnall, Jesse R.

  Ceresney, Andrew J.

  Clattenburg, Rachel

  Clinton, Hillary R.

  Crenny, Kevin P.

  Crowley, Shawn Geovjian

  Danchenko, Igor


                                C-1 of 7
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 3 of 41



                        Trump v. Clinton, et al.
                          Case No. 22-13410
       CERTIFICATE OF INTERESTED PERSONS AND
         CORPORATE DISCLOSURE STATEMENT
                      (Continued)

  Democratic National Committee

  DNC Services Corporation

  Does, John

  Dolan, Jr., Charles Halliday

  Doumar, George R.A.

  Eisen, Allison

  Elias, Marc

  Erickson-Pogorzelski, Anthony

  Fassbender, Diana Marie

  Feldman, Maximillian

  Fels, Adam Seth

  Fritsch, Peter

  Fusion GPS

  Garcez, Isabela M.

  Garza, Kathryn E.

  Gillenwater, James E.

  Greenberg, Gerald Edward

  Habba, Alina

  Habba Madaio & Associates

                                 C-2 of 7
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 4 of 41



                        Trump v. Clinton, et al.
                          Case No. 22-13410
       CERTIFICATE OF INTERESTED PERSONS AND
         CORPORATE DISCLOSURE STATEMENT
                      (Continued)

  Harrington, Howard J.

  Hart, Nancy E.

  HFACC, Inc.

  Howard, Eleni Kastrenakes

  Hunt, Honorable Patrick

  Iguina Gonzalez, Carmen

  Joffe, Rodney

  Kaplan, Roberta A.

  Kendall, David Evan

  Klauber, Debra Potter

  Levine, Jonathan Edward

  Levy, Joshua

  Lipshultz, Zachary Andrew

  Madaio, Michael T.

  Markus, David Oscar

  Martinez, Roberto

  McNichols, John Marcus

  Meeks, Katherine Moran

  Mestitz, Michael

                                C-3 of 7
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 5 of 41



                        Trump v. Clinton, et al.
                          Case No. 22-13410
       CERTIFICATE OF INTERESTED PERSONS AND
         CORPORATE DISCLOSURE STATEMENT
                      (Continued)

  Middlebrooks, Honorable Donald M.

  Monsour, Jr., Franklin George

  Mook, Robert E.

  Neuman, Sarah E.

  Neustar Security Services

  Neustar, Inc.

  Ohr, Bruce

  Ohr, Nellie

  Olmedo-Rodriguez, Jennifer

  Orbis Business Intelligence, Ltd.

  Otterberg, April A.

  Peacock, Benjamin

  Perkins Coie LLP

  Pettis, Eugene K.

  Pinto, Paola

  Podesta, John

  Reines, Phillipe

  Reilly, Wendy B.

  Roberts, Jared Joseph

                                C-4 of 7
USCA11 Case: 23-13177    Document: 110   Date Filed: 06/03/2024   Page: 6 of 41



                         Trump v. Clinton, et al.
                           Case No. 22-13410
        CERTIFICATE OF INTERESTED PERSONS AND
          CORPORATE DISCLOSURE STATEMENT
                       (Continued)

  Sainvil, Akiesha Renee Gilcrist

  Sasso, James

  Sasson, Jamie Alan

  Schar, Reid J.

  Schultz, Deborah Wasserman

  Sigler, Geoffrey M.

  Simpson, Glenn

  Soto, Edward

  Southall, Samantha

  Steele, Christopher

  Stekloff, Brian L.

  Sullivan, Jake

  Sussmann, Michael

  Terrell, Stephen R.

  Ticktin Law Group

  Ticktin, Peter David

  Trout, Robert P.

  Trump, Donald J.

  Turner, Katherine M.

                                 C-5 of 7
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 7 of 41



                        Trump v. Clinton, et al.
                          Case No. 22-13410
       CERTIFICATE OF INTERESTED PERSONS AND
         CORPORATE DISCLOSURE STATEMENT
                      (Continued)

  Tyrrell, Steven

  Warin, Francis Joseph

  Wylie, John W.




                                C-6 of 7
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 8 of 41



                        Trump v. Clinton, et al.
                          Case No. 22-13410
        CERTIFICATE OF INTERESTED PERSONS AND
          CORPORATE DISCLOSURE STATEMENT
                       (Continued)

            CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1 and

Eleventh Circuit Rules 26.1-1 through 26.1-3 and 27-1(6), Appellee

Orbis Business Intelligence Ltd. makes the following statement as to its

corporate ownership: Orbis Business Intelligence Ltd. is a private

limited corporation formed under the laws of England and wholly

owned by Orbis Business International Ltd., which is also a private

limited corporation formed under the laws of England.

                                             /s/ Enjoliqué Aytch Lett
                                               Enjoliqué Aytch Lett




                                C-7 of 7
USCA11 Case: 23-13177    Document: 110   Date Filed: 06/03/2024   Page: 9 of 41



       APPELLEE’S MOTION FOR DAMAGES AND COSTS
        PURSUANT TO FEDERAL RULE OF APPELLATE
                    PROCEDURE 38

     Litigation is a costly endeavor. Consequently, it can be a tool

weaponized against another party for vexatious and improper purposes.

In that circumstance, as is here, our judiciary has provided wronged

parties a remedy through an award of sanctions. In the exercise of that

remedy, Appellee Orbis Business Intelligence Ltd. (“Orbis”), pursuant to

Federal Rule of Appellate Procedure 38, respectfully submits this

Motion for Damages and Costs against Appellant Donald J. Trump

(“Trump”), including, but not limited to, an award of attorneys’ fees and

costs incurred in this appeal.

     This appeal, which follows the dismissal of baseless and improper

claims brought in the district court, is frivolous because: (1) Trump

knew that the Court did not and could not acquire personal jurisdiction

over Orbis because he did not effect service of process under the RICO

nationwide service provision and there could be no personal jurisdiction

under Florida’s long-arm statute; and (2) Trump failed to appeal all of

the bases on which the district court determined that it did not have

personal jurisdiction – specifically Trump does not address the district


                                    1
USCA11 Case: 23-13177   Document: 110    Date Filed: 06/03/2024   Page: 10 of 41



court’s finding of lack of personal jurisdiction pursuant to Florida’s long-

arm statute. Therefore, the appeal as to Orbis could not have been

successful. Notwithstanding his knowledge that there was no basis for

the district court to attain jurisdiction over Orbis, Trump pressed

forward with his claims against Orbis in the district court, and when

losing there, doubled down on the frivolity and brought this appeal.

Given Trump’s continuous pursuit of infirm litigation against Orbis

here and in England, heightened sanctions in the form of double costs

are warranted.

     I.    Federal Rule of Appellate Procedure 38 Provides the
           Authority to Sanction Appellant for Bringing a
           Frivolous Appeal.
     Rule 38 of the Federal Rules of Appellate Procedure governs: “[i]f
a court of appeals determines that an appeal is frivolous, it may, after a
separately filed motion or notice from the court and reasonable
opportunity to respond, award just damages and single or double costs
to the appellee.” “[W]here an appeal is patently frivolous, the court may
assess damages to the appellee, including reasonable attorneys’ fees

and double costs.” Hobson v. Fischbeck, 758 F.2d 579, 581 (11th Cir.
1985) (citing Collins v. Amoco Production Co., 706 F.2d 1114, 1115
(11th Cir. 1983)). For purposes of Rule 38, a claim is clearly frivolous if
it is “utterly devoid of merit.” Parker v. Am. Traffic Sols., Inc., 835 F.3d


                                     2
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 11 of 41



1363, 1371 (11th Cir. 2016) (quotations omitted). One manner in which
a claim is frivolous and devoid of merit is if there is no evidence of the

underlying claim. See, e.g., Pelletier v. Zweifel, 921 F.2d 1465 (11th Cir.
1991) (finding an appeal frivolous where plaintiff pressed forward with
securities fraud claims and no evidence of fraud). Another manner in

which a claim is frivolous is where “the appellant disregarded the
applicable law and relied on ‘clearly frivolous’ arguments.” Merritt v.
Lake Jovita Homeowner’s Ass’n, 358 F. App’x 47, 50 (11th Cir. 2009)

(citing United States v. Single Family Residence & Real Property, 803
F.2d 625, 632 (11th Cir. 1986)).

     II.   This Appeal is Frivolous Warranting Sanctions.
     This appeal is frivolous because the arguments of error are
“utterly devoid of merit,” Parker, 835 F.3d at 1371(quotations omitted),
and appellant raised “clearly frivolous claims in the face of established
law and clear facts.” Farese v. Scherer, 342 F.3d 1223, 1232 (11th Cir.
2003) (quotations omitted).

           A.    Trump Knew That He Lacked Personal
                 Jurisdiction Over Orbis and Therefore Knew He
                 Had No Basis to Appeal the District Court’s
                 Ruling.
     Trump contended that the district court may exercise personal
jurisdiction over Orbis for two reasons: first, because 18 U.S.C. §
1965(b) authorizes nationwide service of process for RICO claims, and
second, even if nationwide service of process was not permitted, he

                                    3
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 12 of 41



stated a claim under which Florida’s long-arm statute would apply and
appellees had sufficient minimum contacts with Florida for the district

court to exercise personal jurisdiction over them. (See DE:262:2-4.) Both
grounds were, and remain, meritless.
     As Orbis also argued in its motion to dismiss, Trump’s initial

argument for personal jurisdiction under the federal RICO statute
remains incorrect because he never served Orbis according to RICO’s
nationwide service of process provision. See Don’t Look Media Ltd. Liab.

Co. v. Fly Victor Ltd., 999 F.3d 1284, 1292 (11th Cir. 2021) (“The
problem in this case is that RICO does not provide for personal
jurisdiction because [the plaintiff] did not serve any party ‘according to’

RICO’s nationwide service of process provision.”). The federal RICO
statute only authorizes nationwide service of process – meaning service
has to occur in this nation. Id. at 1293 (quoting Cent. States, Se. & Sw.
Areas Pension Fund v. Reimer Express World Corp., 230 F.3d 934, 941
(7th Cir. 2000)) (“The RICO service of process provision states that
service may be made in any judicial district, which indicates that
Congress authorized service only in the judicial districts of the United
States and not worldwide.”). It “does not authorize international service
of process and, as such, cannot be the basis for the assertion of personal
jurisdiction over a corporation or individual served abroad.” Verdejo v.
HP Inc., No. 21-20431-Civ, 2021 U.S. Dist. LEXIS 215726, at *11 (S.D.
Fla. Nov. 7, 2021); see also Don’t Look Media Ltd. Liab. Co., 999 F.3d at

                                    4
USCA11 Case: 23-13177   Document: 110    Date Filed: 06/03/2024   Page: 13 of 41



1293 (“Section 1965(d)’s authorization of service in any judicial district
plainly does not authorize service outside the United States.”).

     Trump does not dispute that Orbis is an England-based entity.
Nor does he dispute that service upon Orbis was attempted via The
Hague in London, England – not in the United States. Accordingly, “the

nationwide service of process provision in RICO cannot provide for
personal jurisdiction in this case.” Don’t Look Media Ltd. Liab. Co., 999
F.3d at 1293.

     Additionally, Trump’s second argument for personal jurisdiction
under Florida’s long-arm statute was tenuous from the start because
Trump failed to allege specific facts that would bring Orbis within

Florida’s long-arm statute, see Snow v. Directv, Inc., 450 F.3d 1318
(finding “conclusory allegations” that defendant “conspired” with parties
that “committed tortious acts in Florida” “insufficient to establish a
prima facie case of personal jurisdiction”), and further failed to plead
any facts alleging Orbis has minimum contacts with Florida sufficient
to comport with the Due Process Clause. See Melgarejo v. Pycsa
Panama, S.A., 537 F. App’x 852, 859-60 (11th Cir. 2013) (“[T]he Due
Process Clause imposes a ‘more restrictive requirement’ than does
Florida’s Long-Arm Statute.”) (quoting Internet Sols. Corp. v. Marshall,
39 So.3d 1201, 1207 (Fla. 2010)); see also Carmouche v. Carnival Corp.,
36 F. Supp. 3d 1335, 1338 (S.D. Fla. 2014) (the burden does not “shift[]
to the defendant to challenge plaintiff’s allegations by affidavits or other

                                     5
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 14 of 41



pleadings” unless “the plaintiff pleads sufficient material facts to form a
basis for in personam jurisdiction”), aff’d, 789 F.3d 1201 (11th Cir.

2015).
     Trump’s knowledge that district court lacks personal jurisdiction
under both 18 U.S.C. § 1965(b) for nationwide service of process and

Florida’s long-arm statute, as a matter of law, demonstrates he had no
basis to bring this appeal and that his identical argument on appeal is
utterly without merit – in another word, frivolous.

     The circumstances presented here are similar to other instances
where sanctions were imposed. For example, this Circuit found that
sanctions under FRAP 38 were warranted where, “[i]n a ten page order,

the district court set forth the deficiencies in the [plaintiffs’] first
amended complaint and stated that it would entertain renewed motions
for sanctions from the defendants should the [plaintiffs] plead a
similarly deficient RICO claim.” Merritt, 358 F. App’x at 50. Here, after
being put on notice of his faulty service and lack of personal jurisdiction
through Orbis’ briefing and the district court’s order, Trump pursued
the appeal anyway.

           B.    Trump Failed to Challenge All Bases on Which
                 the District Court Dismissed Orbis.
     Trump further knew that his appeal as to Orbis has no chance for
success, and therefore is frivolous, where he failed to challenge all
grounds on which the district court ruled against him and in Orbis’


                                    6
USCA11 Case: 23-13177    Document: 110   Date Filed: 06/03/2024   Page: 15 of 41



favor. Appellant’s Initial Brief (CA11:131) does not address, let alone
challenge, the district court’s ruling that he failed to personal

jurisdiction over Orbis under Florida’s long-arm statute. In Appellant’s
Initial Brief, Trump simply states that “defendants had minimum
contacts with the United States[.],” (DE:131:41), which relates to

Trump’s incorrect argument that there is personal jurisdiction over
Orbis via the RICO statute’s provision for nationwide service of process.
See infra Sec. II.A.

     Trump makes no effort to confront the district court’s ruling that
the court “may not exercise personal jurisdiction over Defendants
Dolan, Joffe, or Orbis consistent with the Florida long-arm statute,”

(DE:267:21) because (1) “none of the torts alleged in Plaintiff’s
Complaint survive Rule 12(b)(6) scrutiny. And without these predicate
torts, this Court does not have jurisdiction over Defendants under §
49.193(1)(a)(2) of Florida’s long-arm statute,” and (2) “Plaintiff has not
alleged that Defendants ‘aimed’ any conduct at Florida or could
reasonably have anticipated that Plaintiff would be harmed in Florida .
. . .” (id. at 20.) By not addressing this basis for dismissal in his opening
brief, Trump waived that argument. See United States v. Moran, 778
F.3d 942, 985 (11th Cir. 2015) (ruling that an argument is waived by
“failing to develop any argument on it in his opening brief”); Sapuppo v.
Allstate Floridian Ins. Co., 739 F.3d 678, 681 (11th Cir. 2014); Copeland
v. Hous. Auth. of Hollywood, 358 F. App’x 144 (11th Cir. 2009); Access

                                     7
USCA11 Case: 23-13177    Document: 110    Date Filed: 06/03/2024   Page: 16 of 41



Now, Inc. v. Sw. Airlines Co., 385 F.3d 1324, 1330 (11th Cir. 2004)
(“[E]valuating an issue on the merits that has not been raised in the

initial brief would undermine the very adversarial nature of our
appellate system.”); Flanigan’s Enters., Inc. v. Fulton Cnty., 242 F.3d
976, 987 n.16 (11th Cir. 2001) (finding waiver where party “fail[ed] to

elaborate or provide any citation of authority in support” of its position).
     By waiving the argument, Trump understood that the district
court’s determination that Orbis be dismissed for lack of personal

jurisdiction would not be disturbed. Bringing an appeal that would not
alter the result below is, quintessentially, a frivolous appeal. Shirvell v.
Gordon, 602 F. App’x 601, 607 (6th Cir. 2015) (ruling the appeal was

frivolous under FRAP 38 because appellant “lacked any reasonable
expectation that his argument would alter the district court’s
judgement”); Mays v. Chicago Sun–Times, 865 F.2d 134, 139 (7th Cir.
1989) (ruling the appeal was frivolous under FRAP 38 when the
appellant’s attorney “could not have had a reasonable expectation that
the same arguments would prevail in this court and merely delayed the
inevitable by filing this appeal”).

     III. Heightened Sanctions Are Warranted.

           A.    Trump Filed a Patently Frivolous Appeal.
     Trump should be sanctioned with double fees because he filed a

frivolous appeal where the record undermines his argument and where
he failed to address the district court’s multiple reasons for dismissal.

                                      8
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 17 of 41



See Jackson v. Bank of America, N.A., 898 F.3d 1360 (11th Cir. 2018)
(awarding double fees for filing a clearly frivolous appeal); see also

Waters v. Comm’r, 764 F.2d 1389, 1389–90 (11th Cir. 1985) (double fees
awarded when appellant had raised a “patently frivolous argument);
United States v. Single Family Residence & Real Prop., 803 F.2d 625,

632 (11th Cir. 1986) (awarding sanctions when the appellant
disregarded the applicable law and relied on “clearly frivolous”
arguments).

     Trump’s behavior here is similar to plaintiff in Pelletier v. Zweifel
where double fees were awarded. 921 F.2d 1465 (11th Cir. 1991).
Plaintiff brought what the court determined to be a baseless set of civil

racketeering, federal, and state securities claims against the defendant,
after a series of failed business transactions. Imposing sanctions under
FRAP 38 that included reasonable attorney’s fees and double costs, the
court found “[o]f particular concern” that plaintiff “continued to press
forward” with his claims without any evidence underlying his claims,
and compelling evidence that undermined their claims. Id. at 1523.
     Here, Trump possesses no facts that would render jurisdiction
over Orbis by a Florida federal court– via the RICO nationwide service
provision or otherwise. The defendants, along with the district court,
had thoroughly explained why there is not a RICO claim. And Trump
was aware that Orbis never committed a tort in Florida from which this
action arose, never committed a tort that was felt in Florida from which

                                    9
USCA11 Case: 23-13177    Document: 110    Date Filed: 06/03/2024   Page: 18 of 41



this action arose, and in any event, did not have any contacts with
Florida sufficient to make any jurisdiction over Orbis constitutional.

Compounding the issue, Trump continued to pursue the appeal even
when his own evidence proffered to the district court demonstrated that
he did not serve Orbis according to the RICO nationwide service

provision because he purportedly served Orbis under The Hague, in
London, England. Here, as in Pelletier, there is not simply an absence
of facts supporting Trump’s claims – the facts affirmatively undermine

his claims. On this record, double costs are warranted. See also Merritt,
358 F. App’x at 50 (awarding sanctions to defendants in RICO claims
“where there was no factual basis for them when initially pled, and yet

the plaintiffs persisted in propagating the litigation and appealing the
decisions of the district court”).
      Viewed objectively, it is clear that Trump is simply using this
opportunity to present his unfounded arguments to yet another judicial
audience and exploit the coffers of an opposing party. As previously
noted, this does not lend him any additional credibility, but rather only
serves to waste the time of yet another judicial body and the resources
of a litigant having to continuously defend itself against groundless
suits. Trump’s claims were not the result of a reasonable inquiry, were
not well grounded in fact or warranted by existing law, and did not
present a good faith argument for the extension, modification, or
reversal of existing law. Trump is no closer to establishing personal

                                     10
USCA11 Case: 23-13177    Document: 110   Date Filed: 06/03/2024   Page: 19 of 41



jurisdiction under the RICO statute and Florida long-arm statute, and
thus fails once against to meet the black and white requirements of a

personal jurisdiction claim.

           B.    Trump Has a Pattern of Weaponizing Litigation
                 Against Orbis.
     Trump filed a legal action against Orbis on similarly unfounded
grounds in the High Court of Justice of England and Wales, King’s
Bench Division. The High Court of Justice found in Orbis’ favor, striking
Trump’s claims and entering summary judgment for Orbis. See Keenlyside
Decl. ¶ 2 (referencing Order of The Honourable Mrs Justice Steyn DBE
dated February 1, 2024, in the High Court of Justice of England and Wales,

King’s Bench Division, Media and Communications List (Claim No: KB-
2022-004403) (“the Proceedings”)). Upon losing the Proceedings against
Orbis, the court awarded Orbis its costs and stated that Trump must
make a £300,000 interim payment within 28 days of the date of the
order. See Keenlyside Decl. ¶ 3 (referencing the Order of The Honourable
Mrs Justice Steyn DBE, dated February 6, 2024, in the Proceedings
(“Costs Order”)). Although the Costs Order was temporarily stayed, see
Keenlyside Decl. ¶ 5 (referencing the Order of The Right Honourable Lord
Justice Warby, dated March 4, 2024), the stay was lifted on March 27,
2024, and Trump has failed to comply with the orders and pay Orbis’
costs. See Keenlyside Decl. ¶ 6.




                                    11
USCA11 Case: 23-13177   Document: 110     Date Filed: 06/03/2024   Page: 20 of 41



     Trump’s actions in England and in the district court demonstrate
that Trump’s goal is not to obtain any legitimate legal redress of harm,

but to file knowingly baseless claims in order to weaponize legal
systems against a party – particularly Orbis here – to waste its
resources. Such behavior should not be countenanced. Sanctions –

including double costs – are warranted here.
                            CONCLUSION
     WHEREFORE, for any and all of the foregoing reasons and

authority, Orbis, respectfully requests that this Court award damages
and double costs pursuant to Federal Rule of Appellate Procedure 38
and enter an Order for relief, including, but not limited to, an award of

attorney’s fees incurred by this Appellee in defending against this
Appeal and any such other and further relief as this Court deems just
and proper.

Dated: June 3, 2024                       Respectfully submitted,

                                           /s/ Enjoliqué Aytch Lett
                                            Enjoliqué Aytch Lett

                                        Enjoliqué Aytch Lett
                                        Akiesha Gilcrist Sainvil
                                        Greenberg Traurig, P.A.
                                        Wells Fargo Center, Suite 4400
                                        333 Southeast Second Avenue
                                        Miami, Florida 33131
                                        Telephone: 305.579.0500
                                        Enjoliqué.Lett@gtlaw.com
                                        Akiesha.Sainvil@gtlaw.com

                                   12
USCA11 Case: 23-13177   Document: 110     Date Filed: 06/03/2024   Page: 21 of 41




                                        Counsel for Defendant-Appellee,
                                        Orbis Business Intelligence Ltd.




              CERTIFICATE OF COMPLIANCE
      WITH TYPEFACE AND WORD-COUNT LIMITATIONS

     I, Enjoliqué Aytch Lett, counsel for Appellee Orbis and a member

of the Bar of this Court, certify that this document complies with the

length limit of Fed. R. App. P. Rule 27(d)(2)(A) because this document

contains 3461 words.

     This document complies with the typeface requirements of Federal

Rule of Appellate Procedure 32(a)(5) and the type-style requirements of

Federal Rule of Appellate Procedure 32(a)(6) because this document has

been prepared using Microsoft Word 2010 in Century Schoolbook, 14-

point font.

                                                 /s/ Enjoliqué Aytch Lett
                                                  Enjoliqué Aytch Lett




                                   13
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 22 of 41



                    CERTIFICATE OF SERVICE

     I, Enjoliqué Aytch Lett, counsel for Appellee Orbis and a member

of the Bar of this Court, certify that, on June 3, 2024, I electronically

filed the foregoing brief with the United States Court of Appeals for the

Eleventh Circuit by using the appellate NextGen System. I certify that

all participants in the case are registered NexGen users and that

service will be accomplished by the appellate NextGen system.


                                        /s/ Enjoliqué Aytch Lett
                                        Enjoliqué Aytch Lett
JUNE 3, 2024




                                   14
USCA11 Case: 23-13177     Document: 110     Date Filed: 06/03/2024   Page: 23 of 41


              IN THE UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT

             CASE NOS: 22-13410, 22-14099, 23-10387, & 23-13177

                            DONALD J. TRUMP,
                               Plaintiff-Appellant,

                                       v.

                        HILLARY R. CLINTON, et al.,

                            Defendants-Appellees.


    DECLARATION OF ALEX KEENLYSIDE IN SUPPORT OF MOTION FOR
   DAMAGES AND COSTS PURSUANT TO FEDERAL RULE OF APPELLATE
                         PROCEDURE 38



              ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF FLORIDA
                           (CASE NO. 22-CV-14102)
                  (THE HONORABLE DONALD M. MIDDLEBROOKS, J.)


                           Enjoliqué Aytch Lett
                          Akiesha Gilcrist Sainvil
                          Greenberg Traurig, P.A.
                         Wells Fargo Center, Suite 4400
                         333 Southeast Second Avenue
                               Miami, Florida 33131
                             Telephone: 305.579.0500
                            Enjolique.Lett@gtlaw.com
                          Akiesha.Sainvil@gtlaw.com

             Counsel for Appellee Orbis Business Intelligence Ltd.
USCA11 Case: 23-13177   Document: 110    Date Filed: 06/03/2024   Page: 24 of 41



     I, Alex Keenlyside, declare under penalty of perjury under the laws

of the United States of America, pursuant to 28 U.S.C. § 1746, that the

following is true and correct:

     1.    I am a partner in the law firm Bristows LLP ("Bristows”),

based in London. Bristows are instructed by Orbis Business Intelligence

Ltd. (“Orbis”) in relation to proceedings brought against Orbis by

Appellant Donald J. Trump (“Trump”) in the High Court of Justice of

England and Wales, King’s Bench Division, Media and Communications

List (Claim No: KB-2022-004403) (“the Proceedings”) and his subsequent

application for permission to appeal in the Court of Appeal, Civil Division

(Appeal Ref: CA-2024-000389).

     2.    Attached as Exhibit A is the Order of The Honourable Mrs

Justice Steyn DBE dated 1 February 2024 in the Proceedings, finding in

Orbis’s favour following its application for strike out and summary judgment

of Trump’s claim (the “Strike Out Order”).




                                     1
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 25 of 41



     3.    Attached as Exhibit B is the Order of The Honourable Mrs

Justice Steyn DBE, dated 6 February 20241 in the Proceedings (the “Costs

Order”). The Costs Order awarded Orbis its costs of the Proceedings and

stated, at paragraph 2, that Trump must make a £300,000 interim

payment within 28 days of the date of the order. The Costs Order further

acknowledged £10,000 held by the Court Funds Office as security which,

in accordance with the terms of the Costs Order, was transferred by the

Court Funds Office to Bristows LLP (and subsequently to Orbis).

Accordingly, the amount outstanding pursuant to paragraph 2 of the

Costs Order is £290,000.

     4.    Trump subsequently applied to the Court of Appeal, Civil

Division for permission to appeal the Strike Out Order and paragraph 2

of the Costs Order (“Application for Permission to Appeal”). Trump also

sought a stay of paragraph 2 of the Costs Order.

     5.    Attached as Exhibit C is the Order of The Right Honourable

Lord Justice Warby, dated 4 March 2024 (the “Interim Stay Order”). The




1 As amended under the slip rule pursuant to para 40.12 of the  Civil
Procedure Rules 1998 (as amended) of England and Wales on 7 February
2024.


                                    2
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 26 of 41



Interim Stay Order granted Trump an interim stay in respect of

paragraph 2 of the Costs Order, until Trump’s application for a stay or,

if sooner, his Application for Permission to Appeal was decided.

        6.   Attached as Exhibit D is the Order of The Right Honourable

Lord Justice Warby, dated 27 March 2024 (the “Denial of Appeal Order”).

The Denial of Appeal Order rejected Trump’s Application for Permission

to Appeal and lifted the interim stay of paragraph 2 of the Costs Order.

As such, payment to Orbis of the outstanding costs amount of £290,000

was due by 28 March 2024. To date, Trump has not made payment to

Orbis of the outstanding costs amount of £290,000, and therefore Trump

has been in breach of paragraph 2 of the Costs Order since 29 March

2024.

        Executed on 3 June 2024.




                                        Alex Keenlyside




                                    3
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 27 of 41




                    Exhibit A
USCA11 Case: 23-13177       Document: 110        Date Filed: 06/03/2024   Page: 28 of 41


                                                            Case No: KB-2022-004403
 IN THE HIGH COURT OF JUSTICE
 KING'S BENCH DIVISION
 MEDIA AND COMMUNICATIONS LIST

 Before :

 THE HON. MRS JUSTICE STEYN DBE

 BETWEEN


                          PRESIDENT DONALD J. TRUMP
                                                                             Claimant
                                         -and-


                     ORBIS BUSINESS INTELLIGENCE LIMITED
                                                                            Defendant




                                       ORDER




 UPON the Claimant’s Application by Notice dated 3 April 2023 to amend the Claim Form
 (“the Amendment Application”)


 AND UPON the Defendant’s Application by Notice dated 26 May 2023 for strike out
 and/or summary judgment on the claim (“the Strike Out Application”)


 AND UPON the Order of Mr Justice Nicklin dated 9 June 2023 directing both applications
 be heard together


 AND UPON hearing Leading and Junior Counsel for the Claimant and Defendant at a
 hearing before Mrs Justice Steyn on 16 October 2023


 AND UPON the handing down of the Judgment on the Applications at 10am on 1
 February 2024



                                                                                     1
USCA11 Case: 23-13177      Document: 110      Date Filed: 06/03/2024      Page: 29 of 41




 IT IS ORDERED THAT
 1.   The Amendment Application is refused.
 2.   Those paragraphs of the Particulars of Claim identified at paragraphs 99 and 129
      of the Judgment are struck out.
 3.   Summary judgment for the Defendant on the claim is granted pursuant to CPR
      24.2.
 4.   The parties shall, by 10 am on 6 February 2024, endeavour to provide to the court
      an agreed order dealing with all matters consequential upon the Judgment.
 5.   In the event the parties are unable to provide an order in agreed form, each party
      must, by 10am on 6 February 2024, file and serve their respective orders together
      short, written submissions of no more than 8 pages in length indicating the areas
      of disagreement and the reasons each party asks the court to make the orders
      sought.
 6.   The determination of all matters consequential upon the handing down of the
      Judgment shall be adjourned until 7 February 2024.
 7.   The period for any application for permission to appeal by way of Appellant’s
      Notice shall be extended to 4pm on 28 February 2024.




                                                               Dated 1 February 2024




                                                                                      2
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 30 of 41




                    Exhibit B
USCA11 Case: 23-13177          Document: 110         Date Filed: 06/03/2024     Page: 31 of 41


                 Amended under slip rule CPR 40.12 on 7 February 2024
 IN THE HIGH COURT OF JUSTICE                                    Claim No. KB-2022-004403
 KING’S BENCH DIVISION
 MEDIA AND COMMUNICATIONS LIST
 Before: The Honourable Mrs Justice Steyn DBE
 Dated: 6 February 2024
 BETWEEN:-
                            PRESIDENT DONALD J. TRUMP
                                                                                    Claimant
                                             -and-

                     ORBIS BUSINESS INTELLIGENCE LIMITED
                                                                                   Defendant

06-Feb-2024
          __________________________________________________________

                                    ORDER
           __________________________________________________________


 PURSUANT to the Order or Mrs Justice Steyn DBE dated 1 February 2024 (the “Order”) made
 following the handing down of the judgment dated 1 February 2024 ([2024] EWHC 173 (KB);
 ‘the Judgment’)

 AND UPON the parties failing to reach agreement upon the terms of an order dealing with all
 matters consequential upon the Judgment in accordance with paragraph 4 of the Order

 AND UPON consideration of the parties’ written submissions provided pursuant to paragraph
 5 of the Order

 AND UPON the Order of Mr Justice Nicklin dated 25 July 2023, by which the Claimant was
 ordered to provide security for the Defendant’s costs of the Applications by paying the sum of
 £10,000 into the Court Funds Office (“the Security for Costs Order”)

 IT IS FURTHER ORDERED THAT:

    1. The Claimant shall pay the Defendant’s costs of and occasioned by the claim on the
       standard basis, to be subject to detailed assessment if not agreed.




                                               1
USCA11 Case: 23-13177            Document: 110        Date Filed: 06/03/2024         Page: 32 of 41


    2. The Claimant shall make a payment on account of the costs ordered to be paid by
       paragraph 1 of this order in the sum of £300,000 within 28 days of the date of this
       Order.

    3. In part payment of the payment on account of costs referred to in paragraph 2 above,
       the funds paid into the Court Funds Office by the Claimant pursuant to paragraph 1 of
       the Security for Costs Order shall be transferred by the Court Funds Office to the
       Defendant’s solicitors, Bristows LLP, within 14 days of the date of this Order.

 Reasons

 Although the terms of paragraph 1 differed in the drafts provided by the parties, there was no
 dispute that the Claimant should pay the Defendant’s costs of the entire claim, nor that those
 costs should be assessed on the standard basis, subject to detailed assessment if not agreed.

 The area of dispute concerns the payment on account. The Defendant states its total costs of
 the claim are £634,356.66 (excluding VAT, for which there is no claim from the Claimant).
 The Defendant seeks a payment on account in the sum of £444,000, which equates to about
 70% of that figure. The Claimant submits that the Defendant’s costs are so high, in
 circumstances where the claim has been summarily dismissed at an early stage, before any
 defence has been filed, that the Court should make no order for a payment on account at this
 stage, instead giving directions for an exchange of a costs schedule, comments on that schedule
 and, in default of agreement, a further determination of the Court as to the sum to be paid on
 account.

 There is force in the Claimant’s contention that the costs claimed are very high. The rates are
 above the standard rates and, although some uplift may be warranted to reflect the fact that this
 is a specialist area, it seems to me it is likely there would be a reduction on detailed assessment.
 The hours are very high, amounting to 1095 hours, of which nearly a quarter have been charged
 at Partner (Band A) rate of £513. The number of hours compares to 351 hours chargeable time
 and total costs in the order of £325,000 said to have been incurred by the Claimant. I bear in
 mind the extensive nature of the evidence, and the importance of the hearing, albeit it lasted
 only one day. Nevertheless, there is a real likelihood that the claimed costs will be reduced on
 the grounds of duplication, matters which have been dealt with at too high a level and/or
 proportionality. In addition, the disbursements figure of £228,418.92, over £200,000 is
 attributable to Counsel, is high in circumstances where there has been a single one-day hearing.

 However, I am not persuaded that it would be sensible to give the directions proposed by the
 Claimant. That would simply incur further costs, unnecessarily, in circumstances where the
 essential principles regarding liability to make a payment on account, and the basis for
 assessment of the amount are agreed. It seems to me that I have sufficient information to
 determine the appropriate amount. Bearing in mind the concerns I have expressed regarding
 the costs figures put forward by the Defendant, I have significantly reduced the payment on
 account to a sum that is a little below 50% of the total figure claimed. It is likely that detailed
 assessment would result in the Claimant being liable to pay at least this sum.




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USCA11 Case: 23-13177         Document: 110       Date Filed: 06/03/2024      Page: 33 of 41


 The Claimant has sought 28 days to pay, rather than the 14 days proposed by the Defendant. I
 consider it just in the circumstances to allow that period.

 The Defendant’s submissions addressed permission to appeal. However, it is unnecessary to
 consider that issue as no application for permission to appeal has been made.




                                              3
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 34 of 41




                    Exhibit C
                                                           Ancillary

      USCA11
Ancillary          Case:
          Template 271     23-13177
                       – OCT16 - Order Form Document: 110        Date Filed: 06/03/2024           Page: 35(CIV:GS:22.02.23)
                                                                                                           of 41
                                IN THE COURT OF APPEAL, CIVIL DIVISION
                                                           REF: CA-2024-000389                                     [SEAL]




                   PRESIDENT DONALD J. TRUMP              –v–     ORBIS BUSINESS INTELLIGENCE LIMITED


ORDER made by the Rt. Hon. Lord Justice Warby
On consideration of applications by the claimant/applicant for (1) a stay of execution (“the Stay Application”) in respect
of paragraph 2 of the order of Steyn J dated 6 February 2024 (“the Costs Order”) by which the applicant was ordered
to make a payment on account of costs by 5 March 2024 and (2) an extension of time for filing his appellant’s skeleton
argument (“the EOT application”).

And on consideration of the papers and without an oral hearing

  Decision:



  1. Determination of the Stay Application is adjourned. Directions as follows:-
     1.1. The respondent must file and serve any evidence and submissions to be relied on by 4pm on Monday 11
          March 2024.
     1.2. The applicant must file and serve any evidence and submissions in reply by 4pm on Friday 15 March
          2024.
     1.3. The court will then determine the Stay Application on the papers.

  2. In the meantime an interim stay of execution is granted in respect of the Costs Order: no steps by way of
     execution shall be taken until after the court has determined the Stay Application or, if sooner, the application
     for permission to appeal.

  3. Determination of the EOT Application is adjourned. Directions as follows:-
     3.1. The applicant must by no later than 4pm on 8 March 2024 file and serve
          3.1.1. a skeleton argument in support of his appeal
          3.1.2. a formal application notice in compliance with Part 23 seeking an extension of time for filing the
                skeleton argument
          3.1.3. any written evidence and any written submissions to be relied on in support of the application.
     3.2. The respondent must by no later than 4 pm on 15 March 2024 file and serve any evidence and any
           written submissions to be relied on in opposition to the application.
     3.3. The court will then determine the EOT Application on the papers.
   USCA11 Case: 23-13177
  Reasons                                  Document: 110            Date Filed: 06/03/2024             Page: 36 of 41


  The Stay Application

  1.     The general rule is that costs orders must be met on a “pay as you go” basis. An appeal does not operate as a
         stay nor is the existence of an application for permission to appeal a sufficient reason to grant one. It has to be
         shown that the balance of justice lies in favour of a stay. This application is made late, with no clear explanation
         for the delay, and on a basis which appears to be inconsistent with the applicant’s approach in the court below.

  2.     On the other hand, the application is not on its face unarguable or obviously bound to fail. Having read what is
         said in answer to it, I am not persuaded that it is necessary in the interests of justice to decide the application
         summarily on the basis of evidence and submissions provided in haste, and without giving the applicant a
         chance to reply. The timetable I have set will allow both sides a full and fair say.

  The EOT Application

  3.     This application is made in correspondence after the expiry of the deadline for filing the skeleton argument. The
         applicant therefore needs to satisfy the test for relief from sanctions: see. That appears somewhat challenging.
         The failure to comply with the rules looks like a significant breach. The reasons given for it are not supported
         by any evidence nor are they immediately impressive. I am told that the applicant did not instruct his present
         solicitors until 22 February 2024, three weeks after the decision under challenge. That delay is unexplained.
         There is then said to have been difficulty obtaining instructions. The mere fact that the applicant is “overseas”
         is not enough to explain or justify that. It is also said there was a failure to understand the rules, which is hard
         to excuse.

  4.     That said, the appellant’s notice and grounds of appeal were filed within the extended time limit provided for by
         the order dated 1 February 2024. The court will need to decide whether PTA should be granted whatever
         decision is made on the EOT application. The delay in providing the skeleton argument is relatively modest and
         there is a promise to file one by Friday 8 March. It is arguable that in all the circumstances it would be just to
         extend time so that the court’s decision on permission to appeal can be informed not only by the grounds and
         any response to those but also by such supporting argument as the applicant wishes to submit, and a reasoned
         response to that on behalf of the respondent.

  5.     The directions I have given require the applicant to file an application notice (and pay the requisite fee). They
         will allow him to file evidence and fill in the gaps in the narrative. The directions also give the respondent a fuller
         opportunity to answer the application, if so minded.




Notes:

   1) Where an application (other than an application for permission to appeal) has been refused on the papers,
      the applicant may request that the decision be reconsidered.
   2) An application for reconsideration must be filed within 7 days after the party is served with notice of the
      decision.
   3) The reconsideration will be determined by the same or another judge on paper without an oral hearing;
      except that the judge determining the reconsideration on paper may direct that the reconsideration be
      determined at an oral hearing, and must so direct if the judge is of the opinion that the reconsideration
      cannot be fairly determined on paper without an oral hearing: see CPR 52.24.



                                                                        Signed: BY THE COURT
                                                                        Date: 4 March 2024

Case Number: CA-2024-000389
USCA11 Case: 23-13177   Document: 110   Date Filed: 06/03/2024   Page: 37 of 41




                    Exhibit D
                                                      First Appeal


     USCA11
PTA Template    Case:
             269C1         23-13177
                   - First Appeal       Document: 110           Date Filed: 06/03/2024         Page: 38 of(GS:22.02.23)
                                                                                                            41
                                IN THE COURT OF APPEAL, CIVIL DIVISION
                                                          REF: CA-2024-000389 and CA-2024-000389-A             [SEAL]




                                             TRUMP      –v–      ORBIS BUSINESS INTELLIGENCE LIMITED


ORDER made by the Rt. Hon. Lord Justice Warby
On consideration of the appellant’s notice and accompanying documents, but without an oral hearing, in respect of
applications by the claimant for (1) extensions of time for filing the sealed order below and the appellant’s skeleton
argument (2) permission to appeal against the orders of Steyn J dated 1 and 6 February 2024 and (3) a stay of execution
in respect of paragraph 2 of the Order dated 6 February 2024 by which the applicant was ordered to make a payment
on account of costs.

  Decision: 1. Extensions of time granted. 2. Permission to appeal refused. 3. Stay of execution refused.



  Reasons

  Extensions of time

  1. The appellant’s notice was lodged with the court in time but it was not accompanied by a sealed copy of the
     order dated 1 February 2024 nor a skeleton argument. That was a breach of the requirements of Practice
     Direction 52C. Paragraph 3(3) of that PD provides that “at the same time as filing an appellant’s notice” an
     appellant “must” file copies of (a) “the sealed order … being appealed” and (g) “the appellant’s skeleton
     argument in support of the appeal”. An extension of time is therefore required. The principles to be applied
     are those identified in R (Hysaj) v SSHD [2014] EWCA Civ 1633, [2015] 1 WLR 2473.

  2. These failures to comply with the PD are serious and/or significant. The explanation provided has some
     weaknesses: the delay flows in large part from a relatively late change of representation which is unexplained;
     the new solicitors could have acted rather more promptly in obtaining the order; and the delay in respect of
     the skeleton argument flowed from a misunderstanding of rules which are quite clear (it seems to have been
     mistakenly thought that the skeleton argument was one of the additional “documents for use on an application
     for permission” that are dealt with in paragraphs 3(5), 14 and 27 of the Practice Direction).

  3. That said, the delay in each instance was short; it has caused no prejudice to the respondent nor to the
     administration of justice; the new solicitors did act with reasonable diligence to obtain the order; and Counsel
     acted promptly to prepare the skeleton argument once the error was identified. In all the circumstances the
     imperatives of efficiency and the need to enforce compliance with the rules are not so weighty as to justify a
     refusal to consider the application for permission to appeal on its merits. Relief from sanctions is appropriate.

  Permission to appeal

       Order of 1 February 2024

  4. Ground 1: refusal to permit amendment of the claim form.

       4.1. This ground contends, in essence, that the judge was wrong to find that the claim under the DPA 1998
            was a “new claim” made after the expiry of the limitation period within the meaning of CPR 17.4.

       4.2. The applicant’s argument was that this question should be answered by looking at the claim form (issued
            on 26 October 2022) and the Particulars of Claim (dated 21 February 2023) and treating the two as a
            composite statement of the applicant’s case. The judge rejected that contention, distinguishing the case
            of Evans v Cig Mon Cymru [2008] 1 WLR 2675 on which the applicant relies, and applying the reasoning
            in Corelogic Ltd v Bristol City Council [2013] EWHC 2088 (TCC). She was plainly correct to do so.

       4.3. The only statement of case issued within the limitation period and, on the evidence, the only statement
            of case drafted within that period was the original claim form. This was clear and unambiguous as to the
            laws to be relied on. It advanced claims under the DPA 2018 and the UK GDPR only. It made no reference
            to the DPA 1998. There is nothing in or about the claim form itself to suggest that it was or may have
            been intended to incorporate a reference to the 1998 Act or that the fact that this Act was not mentioned
            is attributable to any form of clerical or administrative or formal error. Nor is there any extraneous
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      evidence to 23-13177        Document:
                  that effect. There            110or suggestion
                                     is no evidence    Date Filed:
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                                                                      Particulars of Claim    39 of 41
                                                                                           advancing a claim
         under the 1998 Act had been drafted at the same time. On the contrary, the letter of claim dated 22
         December 2022 referred exclusively to the DPA 2018 and UK GDPR. The first mention of the 1998 Act
         came in February of the following year. The judge was entitled to find (at [53]-[54]) that the applicant’s
         solicitors intentionally brought the claim only under the DPA 2018 and the UK GDPR and only later did
         the applicant “reconsider the scope of the claim”.

    4.4. In these circumstances, it cannot be said that the failure to plead the DPA 1998 in the claim form involved
         an error of the kind referred to in the authorities. It cannot be maintained that at any time before the expiry
         of the limitation period the claim form was “meant to be read together” with the Particulars of Claim. It is
         not arguable that the disparities between the documents amount to nothing more than “internal
         inconsistency” within a single composite statement of case.

    4.5. There is therefore no basis on which the failure to plead the “right” cause of action in a document drafted
         and issued within the limitation period can be cured by reliance on a different document created
         afterwards. The fact that, after the expiry of the limitation period, the two documents were served together
         and at that time they were “meant to be read together” cannot make a difference to this analysis.

5. Ground 2: limitation – date of knowledge.

    5.1. This ground contends that by virtue of s 32 of the Limitation Act 1980 time should be deemed to run from
         the date when the applicant first came to know of the Dossier which he maintains was in January 2017.

    5.2. Not only is this a new point not raised before the judge, it is also at odds with the case that was then
         advanced by the applicant. This conceded that it was “reasonably arguable” that the proposed
         amendments were first put forward outside the applicable period of limitation. An appeal is usually a
         review of the decision at first instance. The court of appeal does not usually permit a litigant to run a new
         case. Only exceptionally would it be prepared to admit an argument inconsistent with the way the case
         was run before the first instance judge. In this case, no exceptional circumstances are relied on.

    5.3. Moreover the concession made below was right and the new argument is untenable. Even assuming
         that the applicant could show that the alleged wrong was committed in circumstances falling within s 32,
         this argument would only defer the end of the limitation period to January 2023. The DPA 1998 was not
         relied on until late February of that year, when the Particulars of Claim and draft amended claim form
         were served.

6. Ground 3: findings that the draft amendments (i) “gave rise to a new cause of action” and/or (ii) “gave rise to
   a new set of facts”.

    6.1. The first limb of this ground contends that the claim under the DPA 1998 was not a new cause of action.
         This is another new point which is contrary to the case advanced at first instance. At that stage the
         applicant, by his then Counsel, conceded that the claim under the DPA 1998 was a new cause of action.

    6.2. The second limb repeats an argument advanced to the judge: that the central factual averments put
         forward were essentially the same in the claim originally pleaded and in the claim under the DPA 1998
         which it was sought to advance by way of amendment. Accordingly, the argument runs, the claim arose
         out of the same or substantially the same facts.

    6.3. The DPA 1998 claim plainly was a new cause of action. The claim pleaded in the claim form relied on a
         legal regime that applied to acts performed on and after 25 May 2018. The DPA 1998 claim was based
         on a different legal regime which only applied to acts performed before that date. The DPA 1998 claim
         was also a different claim on the facts. The judge gave detailed reasons explaining this second point
         which are not arguably wrong. Critically, as she explained, the key claims under the 1998 Act related to
         the defendant’s acts in preparing and disseminating the Memoranda complained of. Those acts were not
         complained of in the claim form issued in October 2022, which gave no details of the acts complained of
         but alleged breaches of legal duty which could only have taken place on or after 25 May 2018.

    6.4. In any event, the applicant has no real prospect of successfully appealing this aspect of the judge’s
         decision-making, as she decided against him on the additional grounds that even if she had power to
         allow the amendment the court would have a discretion which would not be exercised in his favour. She
         gave detailed reasons for reaching that conclusion and the appeal documents contain no challenge to
         that aspect of her reasoning.

7. Ground 4: striking out on the grounds that damages would be de minimis.

    7.1. This ground misreads or mischaracterises the judge’s conclusions. Her key finding was that the applicant
         had no real prospect of obtaining an award of compensation and/or damages in respect of the only claim
        USCA11  Case:
            which       23-13177
                  survived the refusal ofDocument:
                                          permission to110
                                                        amend Date
                                                              and theFiled:  06/03/2024
                                                                      striking out, namely the Page:  40 of
                                                                                               claim under UK41
                                                                                                              GDPR
                and DPA 2018 in respect of the retention and storage of the Memoranda on and after 25 May 2018.

          7.2. The judge reasoned that the evidence showed that processing of this kind was very limited; there was
               no pleaded claim that any of it caused the applicant any distress; nor was there any evidence to that
               effect; on the contrary, the applicant was unaware of this processing and his evidence was that distress
               was caused by dissemination of the Memoranda. Her conclusion was that “it cannot sensibly be claimed
               – and the [applicant] did not see to assert – that the mere fact that the [respondent] held copies of the
               Memoranda caused him distress.” The judge rejected the contention that damages could be recovered
               even so, holding that the data protection legislation does not permit an award of compensation in the
               absence of material damage or distress (see Lloyd v Google LLC [2021] UKSC 50, [222] AC 1217) and
               that there is no other basis for awarding damages for the mere infringement of the statutory right.

          7.3. No arguable challenge to that reasoning has been put forward. The skeleton argument contains nothing
               on the point.

          Order of 6 February 2024

      8. Ground 5: making a costs order without summary assessment or a compliant costs statement.

          8.1. Before the judge it was expressly agreed on the applicant’s behalf that he should be ordered to “pay the
               defendant’s costs of the claim on the standard basis to be assessed if not agreed”. He disputed the
               respondent’s claim for a payment on account of those costs contending that the sums sought were
               unreasonably high and that further information was required. The applicant agreed, however, that the
               judge should resolve that dispute on the papers, without a hearing. She did so and made an order for
               payment of £300,000 on account.

          8.2. By this ground of appeal the applicant contends that the defendant should have been required to file and
               serve a costs statement for the purposes of a summary assessment, in the form required by PD44 para
               9.5. In support of this contention the applicant’s skeleton argument submits that the judge’s order involved
               a “de facto” summary assessment. This is another change of position. The argument is also without
               merit. Although the hearing in the event took one day so that on the face of things that the general rule
               in PD44 para 9.2 applied, the hearing had been estimated to last two days. In all the circumstances the
               duty to provide a costs statement (PD44 para 9.5) did not apply or it was reasonable for the respondent
               not to comply with it.

          8.3. In any event, the judge did not either in form or in substance make a summary assessment. She ordered
               detailed assessment with an interim payment on account meanwhile. CPR 44.2(8) provides that where,
               as here, the court decides not to make a summary assessment but instead to order a detailed
               assessment of costs, “it will make an order for a reasonable sum on account unless there is good reason
               not to do so”: CPR 44.2(8). The judge’s order set out detailed and proper reasons for rejecting the
               applicant’s contention that there was good reason not to order a payment on account. It was clearly open
               to the judge to conclude that she had “sufficient information to determine the appropriate amount”.

          8.4. The judge’s decision as to the amount to be paid is not open to reasonable criticism either. Although the
               sum is high it was legitimate for the judge to conclude that “it is likely that detailed assessment would
               result in the [applicant] being liable to pay at least this sum”. In that regard it is relevant to note that the
               judge was told that the applicant’s own costs of the claim were “of the order of £325,000”.

      9. For the reasons set out above an appeal would have no real prospect of success. There is no other compelling
         reason for the court to hear an appeal.

      Stay of execution

      10. On 4 March 2024 I adjourned this application and granted an interim stay of execution until the sooner of a
          decision on the stay application or a decision on whether to grant permission to appeal. Permission to appeal
          having now been refused the application to stay falls away.




                                                                          Signed: BY THE COURT
                                                                          Date: 27 March 2024
Notes
(1)    Rule 52.6(1) provides that permission to appeal may be given only where –
      USCA11    Case:
        a) the Court      23-13177
                     considers that the appealDocument:
                                              would have a real110
                                                                prospect Date    Filed:
                                                                         of success; or 06/03/2024                         Page: 41 of 41
            b) there is some other compelling reason why the appeal should be heard.
(2)   Where permission to appeal has been refused on the papers, that decision is final and cannot be further reviewed or appealed. See rule 52.5
      and section 54(4) of the Access to Justice Act 1999.
(3)   Where permission to appeal has been granted you must serve the proposed bundle index on every respondent within 14 days of the date of the
      Listing Window Notification letter and seek to agree the bundle within 49 days of the date of the Listing Window Notification letter (see paragraph
      21 of CPR PD 52C).

Case Number: CA-2024-000389 and CA-2024-000389-A
